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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                  :
DR. ALAN SACERDOTE, et al.,                       : Case No.: 1:16-cv-06284 (KBF)
                                                  :
                       Plaintiffs,                :
                                                  : ECF Case
v.                                                :
                                                  :
NEW YORK UNIVERSITY,                              :
                                                  :
                       Defendant.                 :


         DEFENDANT’S NOTICE OF MOTION FOR SUMMARY JUDGMENT

        PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendant’s Motion for Summary Judgment, the Statement of Undisputed Material Facts

Pursuant to Local Rule 56.1 in Support of Defendant’s Motion for Summary Judgment, and the

Declaration of Ian C. Taylor, Esq., dated January 10, 2018, with supporting exhibits, Defendant

hereby moves this Court before the Honorable Katherine B. Forrest, at the Daniel Patrick

Moynihan United States Courthouse for the Southern District of New York, 500 Pearl Street,

Courtroom 23B, New York, New York 10007, for an Order pursuant to Rule 56 of the Federal

Rules of Civil Procedure, granting summary judgment in favor of the Defendant and dismissing

all of the Plaintiffs’ remaining claims in their Amended Complaint, and granting such other and

further relief as this Court deems just and proper.

        In accordance with the Court’s December 5, 2016 Order, opposition papers shall be filed

on or before February 12, 2018, and any reply papers shall be filed on or before February 23,

2018.
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Dated: New York, New York          Respectfully submitted,
       January 10, 2018
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